                       IN THE UNITED STATES DISTRICT COURT
                        FOR THE WESTERN DISTRICT OF TEXAS
                               SAN ANTONIO DIVISION


UNITED STATES OF AMERICA                         §
                                                 §
                                                 §
vs.                                              §                 SA:21-CR-183-FB-5
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BRANDIE NICOLE SALINAS (5)                       §
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                                 ORDER REVOKING BOND

        Pending before the Court is the Petition for Action on Conditions of Pretrial Release

 [#121], which was submitted by Pretrial Services on December 2, 2021. Thereafter, a warrant

 was issued and Defendant was arrested. The Court held a hearing on the Petition on December

 9, 2021, at which Defendant, her counsel, and counsel for the Government appeared. After

 considering the Petition, the evidence and arguments presented at the hearing, and the case file

 in its entirety, the Court concludes that Defendant's bond should be REVOKED for the reasons

 stated on the record in the hearing and for the reasons explained below.

        A defendant who violates a condition of her release is subject to a revocation of her

 release, an order of detention, and prosecution for contempt of court.        See 18 U.S.C.   §


 3148(a).   The judge who issued the conditions of release should order revocation and

 detention if, after a hearing, the judge concludes that (1) there is probable cause to believe

that the person has committed a Federal, State, or local crime while on release, or clear and

 convincing evidence establishes that the person has violated another condition of release; and

(2) there are no conditions the Court could set that would reasonably assure the safety of the
 community or the person's appearance, or the person is unlikely to abide by any condition or

 combination of conditions that the court imposes.      See 18   U.S.C.   §   3148(b).   If there is
 probable cause that the person committed a violation of law, a rebuttable presumption

 applies that no conditions will reasonably assure that the person will not pose a danger to the

 safety of another person or the community. Id.

        On October 6, 2021, Defendant was charged with conspiracy to possess with the intent

to distribute methamphetamine [#43].       The Court entered an order releasing Defendant on

agreed conditions on October 21, 2021 [#100]. The conditions included drug treatment and

testing at the discretion of Pretrial. It came to light at today's hearing that Defendant had been

ordered outpatient drug treatment by Child Protective Services just a few months before being

arrest in this case, but that she did not disclose that to Pretrial despite being asked about past

drug treatment.

       On December 1, 2021, Pretrial Services submitted a Petition for Action on Conditions of

Pretrial Release [#121]. Defendant did not plead true to the allegations in the Petition. Based

on the testimony at the hearing, the Court concludes that there is probable cause to believe that

Defendant, who is six months pregnant, used methamphetamine, and thus that she committed a

crime while on bond. Moreover, clear and convincing evidence establishes that Defendant was

dishonest with her Pretrial Services Officer, did not follow his directions, and tampered with the

results of a drug test by modif'ing a document from Lifetime in an attempt to mislead the

Pretrial Services Officer and this Court. When confronted on these issues, Defendant did not

admit to drug use or that she had been dishonest, but continued to change her story and produce

new excuses.
       Given Defendant's drug use and pattern of deceptive behavior, the Court finds it

unlikely that Defendant will comply with any imposed conditions and that she poses a

danger her minor children and her unborn child. Thus, revocation of Defendant's bond is

warranted, as is her detention.

      In accordance with the foregoing:

       IT IS 1UWRFD               that Defendant's bond is REVOKED and Defendant is

committed to the custody of the United States Marshal pending final disposition of this case.




       Signed this the   '7   day of December, 2021.




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                                                 U     Magistrate Judge
